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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          *
                                                   *
        v.                                         *    CRIMINAL NO. 23-cr-257 (TSC)
                                                   *
 DONALD J. TRUMP,                                  *
                                                   *
                 Defendant.                        *
                                                   *

                          GOVERNMENT’S NOTICE OF SERVICE

       The Court has determined that the deadlines in the Pretrial Order are “held in abeyance.”

ECF No. 186 at 2.      Nonetheless, to help ensure that trial proceeds promptly if and when the

mandate returns, the Government today provided the defendant with the Government’s Draft

Exhibit List.   See ECF No. 39 ¶ 8 (“The parties shall exchange lists of exhibits they intend to use

in their cases in chief by December 18, 2023.”).

                                                       Respectfully submitted,

                                                       JACK SMITH
                                                       Special Counsel

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